Case 1:18-cv-22922-KMM Document 10-3 Entered on FLSD Docket 07/26/2018 Page 1 of 10




                                Exhibit C
Case 1:18-cv-22922-KMM Document 10-3 Entered on FLSD Docket 07/26/2018 Page 2 of 10
Case 1:18-cv-22922-KMM Document 10-3 Entered on FLSD Docket 07/26/2018 Page 3 of 10
Case 1:18-cv-22922-KMM Document 10-3 Entered on FLSD Docket 07/26/2018 Page 4 of 10
Case 1:18-cv-22922-KMM Document 10-3 Entered on FLSD Docket 07/26/2018 Page 5 of 10
Case 1:18-cv-22922-KMM Document 10-3 Entered on FLSD Docket 07/26/2018 Page 6 of 10
Case 1:18-cv-22922-KMM Document 10-3 Entered on FLSD Docket 07/26/2018 Page 7 of 10
Case 1:18-cv-22922-KMM Document 10-3 Entered on FLSD Docket 07/26/2018 Page 8 of 10
Case 1:18-cv-22922-KMM Document 10-3 Entered on FLSD Docket 07/26/2018 Page 9 of 10
Case 1:18-cv-22922-KMM Document 10-3 Entered on FLSD Docket 07/26/2018 Page 10 of 10
